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IN THE UNITED STATES DISTRICT COURT
for the

NORTHERN DISTRICT OF TEXAS

at AMARILLO
STATE OF TEXAS
Plaintiff, Docket Number
V. 02:21-cv-067-Z
Joseph Biden, Jr., President of the United States, et. al., :
Defendants,
Robert A. Heghmann,
Intervening Plaintiff, : INTERVENING
v. PLAINTIFF’S
COMPLAINT
Joseph Biden, President of the United States,
Alexandros Mayorkas, Secretary, Department of
Homeland Security, John H. Hayes, Director,
Office of Refugee Resettlement, Rochelle Walensky,
Director, Centers for Disease Control and JAN 24, 2022

Prevention, Francis S. Collins, Director, National
Institute of Health, and Evangelical Immigration

Organizations 1 thru 100,

Defendants.

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Plaintiff-ROBERT A. HEGHMANN for his Intervening Complaint, alleges

as follows:

1. American Immigration Policy is being driven by the Democrat Party’s
thirst for power, not necessarily what is best for the United States.
Why that is this Court’s constitutional concern is that the Democrats
are pursuing this policy at the price of Genocide and inflicting Crimes
against Humanity.

2. The Plaintiff is a citizen of the United States and resides in
Georgetown, Texas. This Complaint is based upon personal
knowledge, government records, media accounts and _ public
statements by persons with knowledge of the facts set forth herein.
Although Latin American EV-D68 Polio (hereinafter “Migrant Polio”)
has primarily crippled and killed American Children, adults have also
ben crippled and died. Therefore, the Plaintiff is a potential target of
the Genocide and crime against humanity currently being conducted
by the Defendants.

3. This Court has subject matter jurisdiction under the Judiciary Act of

1789, First Congress, Sess. I, Ch. 20, 1789, Sec. 9 (District Court has
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cognizance of all causes in violation of the ...Law of Nations or a
Treaty of the United States).

4. The Plaintiff brings this action based upon violation of rights
guaranteed by the Convention on the Prevention and Punishment of
the Crime of Genocide, art. 2, Dec. 9, 1948, 78 U.N.T.S. 277.
(hereinafter “CPPCG"). The United States signed the Convention on
December 11, 1948 and ratified it on November 25, 1988. As recently
as 2004, the Genocide Convention was recognized as the main source
of customary international law regarding genocide. The Defendants
herein and others to be named later are charged under Article II, Secs
(a), (b) and (c). The acts complained of are set forth in Article III, Sec.
(a) and (b). Venue in this Court is established in Article VI of the
Convention.

5. As an attack on members of a national party, herein the Republican
Patty, the Crimes against Humanity set forth below have, since 1963,

qualified as Genocide. See Statute of the International Tribunal for

the Prosecution of Persons Responsible for Serious Violations of

International Humanitarian Law Committed in the Territory of the

Former Yugoslavia, Article 4 (2) (a) and (b), 25 May 1993.

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6. The Plaintiff also brings this action under the Law of Nations or
International Law, more particularly the Rome Statute of the
International Criminal Court (hereinafter “Rome Statute”) which
states that the elements of a crime against humanity is commission of
any of the enumerated acts when committed as part of a widespread or
systematic attack directed against any civilian population. Rome
Statute art. 7.1. An "attack directed against any civilian population" is
a course of conduct "pursuant to or in furtherance of a State or
organizational policy to commit such attack.” Jd art. 7.2(a) Although
the United States has not ratified the Rome Statute, it sets standards of
International Law which will guide the Court in these proceedings.
This Complaint alleges acts of Crimes Against Humanity as set forth
in Article 6 (a), (b) and (c) of the Rome Statute and at Article 7 (a),
(g), (h) and (k). The civilian population which was the target of the
attacks described herein is the American rural and suburban population
which, as the Defendants well know, is largely Conservative and
Republican.

7. Since the Second World War, the status of individuals under
international law has undergone a fundamental change. The revolution

in international human rights law has transformed the individual from
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"an object of international compassion into a subject of international
right." Consequently, individuals are now said to possess substantive
international rights vis-a-vis states.

8. The recognition that individuals have rights on the international legal
plane is entirely consistent with the emergence of jus cogens as
peremptory norms of international law. If the starting point of
international law is the individual, rather than the absolute sovereignty
of states, "the rights and obligations of man under international law
receive a foundation independent of the arbitrary will of states." The
irreducible element becomes the sovereignty of the individual, not the
sovereignty of states.

9. The most fundamental individual rights are embodied in the concept
of jus cogens. For example, a state policy of genocide, torture, or
slavery, some of the worst violations of individual rights, is generally
accepted as violating jus cogens norms. The nature of these violations
make them particularly appropriate for individual enforcement
because the individual, injured by an act in violation of a jus cogens
norm, has a legitimate and fundamental interest in enforcing the norm.

Consequently, the position of the individual in international law is

intrinsically connected to the enforcement of jus cogens norms.

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10.Since jus cogens is now firmly established under international law,
federal courts have jurisdiction to exercise subject matter jurisdiction
over suits claiming government officials are violating protected rights
under jus cogens. This case is invoking that jurisdiction.

11.In this case the intent of the Defendants to continue to engage in
Genocide and Crimes against Humanity can be fairly inferred from the
intentional actions continued after the initial outbreak of Migrant
Polio in the United States in 2014. Instead of discontinuing their
actions, the Defendants continued their attacks and conspired to
mislead the American People as to the true cause of Polio re-appearing
in the United States after the Sabin 1 Vaccine eliminated Polio from
the Nation 50 years earlier.

12.Joseph Biden is the President of the United States. He is charged
personally and in his capacity as President. As President he is opening
America’s Southern Border to illegal immigration. He and his
progressive deputies are canceling the Remain in Mexico Program,
which is also titled the Migrant Protection Protocols. The program was
created by President Trump to exclude economic migrants from the
U.S. labor market while they wait for asylum judges to hear their

claims. The program was a complete success, and it slashed migrant

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arrivals from roughly 144,000 in May 2019 to 45,000 in October 2020.
Moreover, President Joe Biden signed an executive order that denies
state and local governments any authority to reject the drop-off of
refugees into their towns and communities. His office is located at
1600 Pennsylvania Avenue, NW, Washington, D.C. 20500.
13.Alexandro Mayorkas is the Secretary of the Department of Homeland
Security (hereinafter “DHS”). He is named in his individual and his
capacity as Secretary. The Biden administration is actively importing
coronavirus cases into our country as Americans work to get back on
their feet. The Biden administration is prioritizing illegal aliens
entering the country over the safety and welfare of American citizens.
Through its misguided and deliberate actions, the Biden administration
is actively importing coronavirus cases into our country. The
reinstatement of ‘catch and_ release,’in which _ illegal
aliens are detained and then quickly released into the country to await
their court hearing — which most do not show up for — is not only bad
immigration policy, but disastrous public health policy.” A March 2
report by NBC News on Tuesday confirmed that border crossers are
testing positive for the coronavirus after being released by DHS

officials into the U.S. interior. These Migrants present a clear and

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present danger to the Plaintiff and other residents of Texas and the
United States. His office is located at 2707 Martin Luther King Jr.
Avenue, Washington, D.C.20528

14.John H. Hayes is the Director of the Office of Refugee Resettlement
(hereinafter “ORR”) He is charged personally and in his capacity as
Director of ORR. His agency has transported thousands of illegal
immigrant children and resettled them in suburban and rural
communities without public supervision or official government notice.
Many of these children carried the strains of polio not blocked by the
Sabin 1 Vaccine and, as a result, hundreds of American children have
been paralyzed and many died. His office is located at the Mary E.
Switzer Bldg., 330 C Street, S.W., Washington, D.C. 20201.

15.Rochelle Walensky is the Director of the Centers for Disease Control
and Prevention (hereinafter “CDC”). She is charged personally and in
her capacity as Director of the CDC. Since 2013, the CDC has covered
up the fact that the Defendants have been bringing migrant children
from Latin America into the United States who are infected with two
strains of Polio not prevented by the Sabin 1 Vaccine. The CDC

actions contributed to the infections and deaths of hundreds of
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American children. Her office is located at 1600 Clifton Road, Atlanta,
Ga 30329-4027.

16.Francis S. Collins was the Director of the National Institute of Health
(hereinafter the “NIH”). He is charged personally. The NIH was a
party in the original study by the U.S. Navy Medical Team # 6 in Lima
Peru which discovered the additional strains of polio not covered by
the Sabin 1 Vaccine and has known about the threat to American
citizens since 2013. Since then, the NIH has conspired with the other
Defendants to enable them to continue the Genocide by denying the
outbreaks of Polio in the United States are connected to the illegal
migrant children from Latin America. His office is located at 9000
Rockville Pike, Bethesda, MD 20892.

17.Evangelical Immigration Organizations 1 thru 100 refers to those
organizations who allied with the Defendants and acted as agents in
disbursing the immigrant illegal alien children who carried the two
strains of Polio not prevented by the Sabin 1 Vaccine throughout the
United States. They did this knowing this Latin American EV-D68
Polio was crippling and killing American adults and children in rural

and suburban America.
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18.After being re-elected in 2012 President Obama began to plan a new
wave of illegal immigration from Central America. The Goal was to
flood Red States with immigrants, both legal and illegal, and use
immigration to turn Red States Blue. Due to enhanced economic
opportunities, Mexicans were no longer looking to flee to the United
States, therefore, the Democratic Party had to look further south for
the next wave of immigration.

19. Before opening the flood gates, the Department of Defense
commissioned the U.S. Navy Medical Research Unit # 6, Lima Peru
to do a study of the various viruses the new arrivals would bring with
them. That study was completed in 2013 and titled Human

Rhinoviruses and Enteroviruses in Influenza-like illness in Latin

America.

20.Among other findings, the study found children in Latin America carry
an Enterovirus designated EV -D68 which contains, “two polioviruses
related to the Sabin-1 polio vaccine strain.” In other words, young
children coming from Latin America are carrying two strains of
poliovirus related to but not necessarily blocked by the Sabin 1 polio
vaccine. After this study was done, Medical Unit # 6 asked for funding

to do a follow up study on the Polio strains but that request was denied.

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21.Since 2014 the Obama Biden Administration and the Defendants knew
illegal immigrant children from Latin America were carrying strains
of Polio from which American children are not protected.
Nevertheless, they did nothing to stop the illegal immigration. Not
only did the Obama Biden Administration not work to prevent children
carrying these two strains of deadly virus from entering the U.S.,
Obama approved a plan to allow children in Central America to apply
for Refugee Status thus enhancing their chance of entering the country

22.As a result, there were major outbreaks of the new Migrant Polio in
2014, 2016 and 2018. As the new major outbreaks of Polio swept the
Nation, questions began to be raised as to whether the CDC was hiding
the Enterovirus Link to Illegal Alien Kids. Business Daily published
an editorial on October 17, 2014 raising that very issue. But this
accusation did not only come from IBD.

23.Despite the knowledge of the Obama Biden Administration, the Navy
and the NIH, the CDC denied the Polio outbreak connection to Illegal
Alien Kids. Instead of calling it Polio, the CDC invented a new virus
name, Acute Flaccid Myelitis or AFM. In its denial the CDC stated

that “we are not aware of any of these children (illegal alien children)

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testing for the virus” thus totally denying the Naval Medical Unit # 6
study.

24.The CDC has two tricks it uses to support its denial. First it points out
that EV - D68 first appeared on the West Coast in 1962. That is correct.
Several persons became ill from D68 which probably originated on the
Pacific Rim and was brough to the U.S. by a few travelers. What the
CDC does not reveal is that a study similar to the one done on Latin
American D68 was done on the California D68. That study which will
submitted to the Court at a later date did not reveal any strains of Polio.

25.Secondly, the CDC asks for specimens of the stool of children
suffering from AFM. The stool samples are then tested for the strains
of Polio previously found in the U.S. When the tests reveal no Polio
virus, the CDC offers it as proof Latin American EV D68 is not the
cause. What it does not reveal is that no one has ever contended that
Latin American EV D68 was contained in the stool. Navy Medical
Unit # 6 collected the specimens of Latin American EV D-68 from
sinus swabs. The Unit never tested any stool. Thus, there is no
evidence analyzing stool samples will reveal any link between Latin

American D-68 and AFM.

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26.The first formal link between childhood paralysis and D-68 was
published by the University of California at San Francisco on March
30, 2015. Since then, numerous scientific and medical studies have
linked AFM and D68. The ultimate study came on February 26, 2018
when a team of doctors and scientists from the U.S. and Europe
concluded that EV-D68 is the most likely cause of AFM. Since then,
two studies in 2019 confirmed that D68 is the cause of the new waves
of Polio in the United States. Thus, we have four (4) scientific studies
confirming that D68 is the cause of Polio in the United States. There
really is no question that immigrant children from Latin America are
carrying D-68 and Polio and that this D-68 is the cause of AFM and
Polio in the U.S.

27.Nevertheless, as recently as October 16, 2018 the CDC (perhaps in
response to the 2018 American and European study) published an

article titled CDC Investigates Cases of Rare Neurological “Mystery

Illness” in Kids.. In the article, Dr. Nancy Messonnier, then Director

of the CDC, expressed the CDC’s “frustration” that “we haven’t been
able to identify the cause of this (AFM) mystery illness.” As of

November 26, 2018, the CDC had confirmed 116 cases of AFM (likely

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a fraction of the true number) in 31 states. Of these 14 confirmed cases
are in Texas.

28.President Trump’s efforts on the Southern Border have slowed the
growth of Polio in the U.S. The CDC confirms this in its report on new
cases of AFM reported to the CDC in 2020 thereby confirming the link
between illegal immigrant children and the outbreaks of Polio in the
United States. But with Biden prepared to reverse the Trump initiatives
along the Southern Border, we can expect an explosion in new cases
in the U.S. and Texas unless this Court prevents Biden from re-opening
the Southern Border to illegal immigration.

29.In addition to Polio, the Biden Administration is also committing
Crimes against Humanity by importing a deadly form of Covid-19 into
Texas and other states as part of its Immigration Policies. Media
accounts have reported as follows:

Miriam Izaguirre, a 35-year-old asylum-seeker from Honduras,
crossed the Rio Grande at dawn Monday with her young son and
turned herself in to the authorities.

A few hours later she was released, and the first thing she did was
take a rapid test for Covid-19 at the Brownsville bus station. They told
her her test came out positive.

Several of the asylum-seekers who tested positive told Noticias
Telemundo Investigation they were planning to leave Brownsville for

their destinations; one of them bought a bus ticket for the journey. Eva
Orellana, 29, who is from Honduras and who tested positive, said she

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was going to take the bus to North Carolina with her 3-year-old
daughter. “On the way, we were wearing a mask all the time, gel,
washing our hands,” she said. “Really, I don’t feel anything.”

The New York Post reported March 3:

Felipe Romero, a spokesman for the border city of Brownsville,
told Fox News that they are telling the migrants who tested positive to
follow Centers for Disease Control and Prevention guidelines to

quarantine and maintain social distance, but that Brownsville doesn’t
have the authority to stop them from traveling to the rest of the country.

He said the 108 positives account for 6.3 percent of the total migrants
who received rapid tests at the city’s main bus terminal, a program that
began on Jan. 25.

Ms. Izaguirre and her son not only represent the threat of Covid-19

but they also represent the threat of Polio.
COUNT I
Genocide

Joseph Biden, Members of the Obama/ Biden Administrations and
Government Officials at the ORR

1. The Plaintiff herein incorporates and re-alleges the allegations
contained in paragraphs | through 29 hereof.

2. The Defendants and others have transported thousands of illegal
immigrant children throughout the United States without medical
examination. They did this knowing that these children carried two
strains of Polio not prevented by the Sabin 1 Vaccine and therefore
they are guilty of Genocide.

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COUNT II

Conspiracy to Commit Genocide

Government Officials at the CDC and NIH

. The Plaintiff herein incorporates and re-alleges the allegations

contained in paragraphs 1 through 29 hereof.

. The Defendants and others have conspired to prevent the American

People from learning that illegal immigrants from Latin America are
carrying strains of Polio not prevented by the Sabin Vaccine and that
these children are the cause of Polio outbreaks in America in 2014,

2016 and 2018. These co-conspirators are guilty of Genocide.
COUNT II

Aiding and Abetting the Commission of Genocide

Evangelical Immigration Organizations

. The Plaintiff herein incorporates and re-alleges the allegations

contained in paragraphs | through 29 hereof.

. The Defendants have aided and abetted the commission of genocide

and are therefore as guilty as the state principals for the genocide.

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COUNT IV
Crimes against Humanity
The Department of Homeland Security and ORR

7. The Plaintiff herein incorporates and re-alleges the allegations
contained in paragraphs 1 through 29 hereof.

8. The DHS and ORR are guilty of Crimes Against Humanity by bringing
into Texas and the United States Illegal Immigrants carrying the
Covid-19 virus at a time when only a small fraction of the U.S.
Population (less than 50% at the time this Intervening Complaint was
filed) has been vaccinated and the Nation is still considered in the grip
of a Pandemic.

9. This bringing Illegal Aliens from Latin America who are carrying
Covid 19 into the United States and then distributing them to Red
States and Red Counties in Blue States constitutes a crime against

Humanity and genocide.
WHEREFORE, the Plaintiff demands:

- That this Court ORDER President Biden to continue the Programs

and Policies adopted by President Trump, including but not limited

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to completing the Wall along the Southern Border, to limit or end
illegal immigration along the Nation’s Southern Border,

That this Court Order the Defendants to stop transporting illegal
immigrants throughout the United States,

That this Court sentence any Defendants found guilty of Genocide,
or of conspiracy to commit Genocide or aiding and abetting in the
commission of genocide and crimes against humanity in accordance
with International Law including sentencing the most damaging
defendants to long prison sentences and, in some cases, death by
hanging.

Preliminary and permanent injunctions against further violations of
the CPPCG and crimes against humanity as defined in the Rome
Statute, and

Such other relief as the Court deems necessary.

The Plaintiff,

Robert A. Heghmann

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CERTIFICATE OF SERVICE

I certify that, on January 24, 2022, I mailed a copy of this Motion to the Court
and caused service of this this Motion through the CM/ECF upon the Defendants

and the Plaintiffs.

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